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                                                      11                                        DISTRICT OF NEVADA
                                                      12
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                                                           RICHARD ZEITLIN, ADVANCED                             Case No.: 2:18-cv-01919-RFB-CWH
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                                                      14
                                                           TELEPHONY CONSULTANTS, MRZ
                               L.L.P.




                                                      15   MANAGEMENT, LLC, DONOR                           BANK OF AMERICA N.A.’S RESPONSE
                                                           RELATIONS, LLC, TPFE, INC., AMERICAN             TO PLAINTIFFS’ MOTION FOR LEAVE
                                                      16   TECHNOLOGY SERVICES, COMPLIANCE                  TO FILE A SUR-REPLY
                                                           CONSULTANTS, CHROME BUILDERS
                                                      17   CONSTRUCTION, INC., and UNIFIED
                                                           DATA SERVICES,
                                                      18
                                                                                  Plaintiffs,
                                                      19
                                                           v.
                                                      20
                                                           BANK OF AMERICA, N.A., and JOHN and
                                                      21   JANE DOES 1-100,

                                                      22                          Defendants.

                                                      23

                                                      24             Defendant Bank of America, N.A. (“BANA”), by and through its attorneys, Snell &

                                                      25   Wilmer L.L.P., hereby submits this Response to Plaintiffs’ Motion for Leave to File a Surreply to

                                                      26   Defendant’s Reply in Support of Defendant’s Motion to Dismiss Plaintiffs’ Complaint (ECF No.

                                                      27   22). This Response is based upon the papers and pleadings on file herein, the following

                                                      28   Memorandum of Points and Authorities, and any oral argument the Court may entertain.


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                                                       1                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                       2      I.     SUMMARY

                                                       3             Plaintiffs’ Motion for Leave to File a Sur-Reply (“Sur-Reply Motion) is highly misleading

                                                       4   and meritless. Plaintiffs contend BANA asserted new arguments in its Reply in Support of

                                                       5   Motion to Dismiss (ECF No. 20) (the “MTD Reply”). This contention is based primarily on two

                                                       6   new cases cited in support of BANA’s argument (detailed in its Motion to Dismiss) that a

                                                       7   limitation of liability clause applies here. Plaintiffs contend these new cases constitute new

                                                       8   arguments, thus entitling them to file a sur-reply. This contention is wrong, according to well

                                                       9   settled law and procedural rules.

                                                      10               BANA’s Motion to Dismiss included section F, titled “The Contract Bars Claims for

                                                      11   Consequential or Punitive Damages.” In that section, BANA identified the limitation of liability

                                                      12   clause set forth in the Deposit Agreement and discussed why it barred Plaintiffs’ consequential
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                                                      13   and punitive damages. In Plaintiffs’ Response to the Motion to Dismiss (ECF No. 17) (the “MTD
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                                                      14   Response”), Plaintiffs contended the limitation of liability clause is not enforceable. Accordingly,
                               L.L.P.




                                                      15   in direct response (as is the purpose of a reply), BANA identified two cases from this Court

                                                      16   which state that limitation of liability clauses in contracts are routinely upheld and generally

                                                      17   valid, and further argued why the clause is enforceable here.

                                                      18             The briefing process on this point occurred exactly as intended by the Rules. BANA

                                                      19   asserted an argument, Plaintiffs identified an objection, and BANA responded to that objection

                                                      20   with additional law to support its original argument that the limitation of liability clause applies.

                                                      21   BANA has done nothing wrong or improper. Plaintiffs’ contention is unfounded and a blatant

                                                      22   attempt for an impermissible second bite of the apple and the proverbial “last word.” Sur-replies

                                                      23   are highly disfavored and Plaintiffs do nothing to meet that burden here.

                                                      24    II.      ARGUMENT

                                                      25                    A. Legal Standard.
                                                      26             Leave to file a sur-reply is “discouraged”, “highly disfavored”, and may only be granted to

                                                      27   “address new matters raised in a reply to which a party would otherwise be unable to respond.” D.

                                                      28   Nev. LR 7-2(b); John Bordynuik Inc. v. JBI, Inc., No. 2:13-cv-01463-RFB-VCF, 2015 WL

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                                                       1   153439, at *4 (D. Nev. Jan. 13, 2015). A matter raised in reply is not “new” if it merely responds
                                                       2   to points made in a response or opposition brief. See Gauthier v. Eastern Oregon Correctional
                                                       3   Institution, No. CV 04-290-HA, 2004 WL 2260670, at *2 (D. Or. Oct. 7, 2004); see also Terrell
                                                       4   v. Contra Costa County, 232 Fed.Appx. 626, 629, 629 n. 2 (9th Cir. Apr. 16, 2007) (unpublished
                                                       5   in Fed. Rep.) (holding information in reply brief was not “new”, and was therefore properly
                                                       6   considered by District Court, where the reply brief expanded on facts raised in opposition); Evans
                                                       7   v. Encore Event Techs., Inc., No. 2:15-cv-1120-GMN-CWH, 2017 WL 986357, at *1, n. 1 (D.
                                                       8   Nev. Mar. 14, 2017) (denying motion to strike declaration in support of reply because such was
                                                       9   not “new” where it supported original argument and rebutted evidence presented in response);
                                                      10   U.S. v. Belshaw, No. 07-cv-00080-RCJ-VPC, 2010 WL 11590133, at *3 (D. Nev. Mar. 30, 2010)
                                                      11   (denying motion for leave to file sur-reply where “Defendants have not raised any new evidence
                                                      12   or matters in their reply” and “Plaintiff’s request to file a sur-reply appears to be nothing more
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                                                      13   than an attempt to present additional legal arguments on issues that were already raised and
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                                                      14   should have been addressed by Plaintiff in its opposition”).
                               L.L.P.




                                                      15                    B. There is Nothing New Warranting a Sur-Reply and Plaintiffs Fail to
                                                                               Meet that High Burden.
                                                      16
                                                                     Plaintiffs argue that they are entitled to file a sur-reply because the Reply “makes
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                                                           fundamentally different arguments from the one made in its original Motion to Dismiss” and
                                                      18
                                                           “cites new case law and makes new arguments.” Sur-Reply Mot. 2:13-14, 2:21-22. This
                                                      19
                                                           contention is blatantly false, misconstrues the facts, and is contrary to well-settled law.
                                                      20
                                                                     First, there is nothing in BANA’s MTD Reply that constitutes new argument or issues,
                                                      21
                                                           entitling Plaintiffs to a “highly disfavored” sur-reply.       Subsection F of BANA’s Motion to
                                                      22
                                                           Dismiss, titled “The Contract Bars Claims for Consequential or Punitive Damages”, argues that
                                                      23
                                                           the limitation of liability clause (the “Liability Clause”) precludes the consequential and punitive
                                                      24
                                                           damages sought. Mot. to Dismiss 19:16-20:2. In their MTD Response, Plaintiffs assert that the
                                                      25
                                                           Liability Clause is unenforceable.       MTD Resp. 22:15-28.       In direct response to Plaintiffs’
                                                      26
                                                           contention that the Liability Clause is unenforceable, BANA cites two cases, directly on point,
                                                      27
                                                           from this Court, which hold that similar limitation of liability clauses are routinely upheld and
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                                                       1   generally valid. These authorities and supporting points are directly responsive to Plaintiffs’
                                                       2   assertion in its MTD Response, and do not constitute new arguments.
                                                       3             The law is clear that points in a reply which directly address arguments in a response are
                                                       4   permissible and do not give rise to the need for a sur-reply. Gauthier, 2004 WL 2260670, at *2
                                                       5   (denying motion to file sur-reply because new affidavits and arguments at issue were “responsive
                                                       6   to plaintiff’s arguments and, therefore, not new matters.”) The Court is presented with the same
                                                       7   scenario here. BANA’s purported “new” arguments are directly responsive to those raised by
                                                       8   Plaintiffs in their MTD Response and further support the original argument asserted in BANA’s
                                                       9   Motion to Dismiss.
                                                      10             Second, Plaintiffs’ criticism that BANA did not explicitly address the standard for
                                                      11   enforceability of the Liability Clause in its moving papers is irrelevant. BANA’s position that the
                                                      12   Liability Clause is enforceable is an obvious and implicit premise of its reliance on that provision.
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                                                      13   Indeed, Plaintiffs understood the argument, as their MTD Response contended the clause is not
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                                                      14   enforceable. MTD Resp. 22:15-28. Plaintiffs already had a chance to respond; and did so.
                               L.L.P.




                                                      15   Likewise, BANA is entitled to respond to Plaintiffs’ assertion that the Liability Clause was not
                                                      16   enforceable; and did so by identifying contrary case law.
                                                      17             What Plaintiffs actually seek is a second bite at the apple and the last word on the issue.
                                                      18   But no law provides for that, and Plaintiffs cite none. Kelly v. Las Vegas Metro. Police Dept., No.
                                                      19   2:12-cv-02074-LRH-CWH, 2014 WL 3725927, at *14 (D. Nev. July 25, 2014) (denying motion
                                                      20   for leave to file sur-reply where the purported new arguments related to issues and arguments
                                                      21   raised in the original motion); Belshaw, 2010 WL 11590133, at *3 (“Plaintiff’s request to file a
                                                      22   sur-reply appears to be nothing more than an attempt to present additional legal arguments on
                                                      23   issues that were already raised and should have been addressed by Plaintiff in its opposition” and,
                                                      24   accordingly, leave to file a sur-reply should be denied.)
                                                      25             Third, Plaintiffs ground their “new argument” contention in the two supporting cases
                                                      26   BANA cites in response to Plaintiffs’ enforceability assertions.          Sur-Reply Mot. 2:12-20.
                                                      27   Plaintiffs’ position that citing new authority in a reply is impermissible – even if that authority is
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                                                       1   in further support of arguments already made in the moving papers – is notably without support.
                                                       2   And the law disagrees.
                                                       3             There is no bar to citing new authority on reply, and a non-movant cannot upend well-
                                                       4   settled motion practice procedure and obtain the last word by merely claiming the need to correct
                                                       5   supposed misstatements in case law. “[A]n alleged misapplication or mischaracterization of the
                                                       6   law alone surely cannot be a sufficient basis for a surreply; otherwise, litigants would constantly
                                                       7   seek to have the last word in brief filing by claiming the other side presented the law in an
                                                       8   unfavorable manner.” U.S. v. Ormat Indus., Ltd, No. 14-cv-00325-RCJ-VPC, 2016 WL 1298119,
                                                       9   at *6 (D. Nev. Apr. 1, 2016) (denying leave to file sur-reply); Stillwagon v. City of Delaware, 175
                                                      10   F. Supp. 3d 874, 890 (S.D. Ohio 2016) (“Simply citing new ‘case law does not amount to the
                                                      11   raising of new arguments’”) (citing Keith v. Aerus, LLC, No. 2:09–cv–297, 2010 WL 3883434, at
                                                      12   *3 (E.D. Tenn. 2010 Sept. 29, 2010)).
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                                                      13             Plaintiffs’ contention that one of the cases cited in the MTD Reply relies upon UCC
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                                                      14   arguments, and is thus “new”, is meritless. In the case at issue, VeriFone, Inc. v. A Cab, LLC, the
                               L.L.P.




                                                      15   Court held that a limitation of liability clause which unambiguously precluded consequential
                                                      16   damages was enforceable under the principle that contracts should be construed and enforced as
                                                      17   written. No. 2:15-cv-00157-GMN-GWF, 2015 WL 6443126, at *2-3 (D. Nev. Oct. 23, 2015).
                                                      18   While the Court’s citation to a UCC provision was relevant to its analysis, the decision did not
                                                      19   turn on that authority. Id.       Accordingly, Plaintiffs’ contention that new law is offered is
                                                      20   unfounded.
                                                      21             Fourth, the sole case upon which Plaintiffs rely, that concludes a sur-reply was appropriate,
                                                      22   is instructive and entirely distinguishable from the facts here. See FNBN-Rescon I LLC v. Ritter,
                                                      23   No. 2:11-cv-1867-JAD-VCF, 2014 WL 979930 (D. Nev. Mar. 12, 2014). In that case, the Court
                                                      24   denied a motion to strike a sur-reply where the original movant’s reply in support of its motion for
                                                      25   summary judgment “raised new arguments” including changing the fundamental relief requested
                                                      26   in the motion by newly attempting to bifurcate the questions of liability and damages and
                                                      27   advancing “several new arguments” for why the Court should do so. Id. at *6. No such facts exist
                                                      28   here.

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                                                       1   III.      CONCLUSION
                                                       2             For the foregoing reasons, BANA respectfully requests that the Court deny Plaintiffs’
                                                       3   Motion for Leave to File a Surreply.
                                                       4
                                                                     Dated: December 21, 2018                    SNELL & WILMER L.L.P.
                                                       5
                                                                                                             By: /s/ Robin E. Perkins
                                                       6
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                                                       1                                    CERTIFICATE OF SERVICE
                                                       2             I hereby certify that on this date, I electronically filed the foregoing RESPONSE TO

                                                       3   PLAINTIFFS’ MOTION FOR LEAVE TO FILE A SUR-REPLY with the Clerk of the Court

                                                       4   for the U.S. District Court, District of Nevada by using the Court’s CM/ECF system. Participants

                                                       5   in the case who are registered CM/ECF users will be served by the CM/ECF system.

                                                       6             DATED: December 21, 2018
                                                       7
                                                                                                        /s/ Gaylene Kim
                                                       8                                               An Employee of Snell & Wilmer L.L.P.

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